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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                          SOUTHERN DIVISION
                               PIKEVILLE

DENNIS A. FORBES,                           )
                                            )
       Petitioner,                          )   Case No. 7:20-cv-130-HRW
                                            )
v.                                          )
                                            )
UNITED STATES OF AMERICA,                   )         JUDGMENT
                                            )
       Respondent.                          )

                              *** *** *** ***

      Consistent with the Memorandum Opinion and Order entered this date, and

pursuant to Rule 58 of the Federal Rules of Civil Procedure, it is hereby ORDERED

and ADJUDGED as follows:

      1.     Dennis Forbes’s petition for a writ of habeas corpus pursuant to 28

U.S.C. § 2241 [R. 1] is DENIED;

      2.     This action is STRICKEN from the Court’s docket; and

      3.     This is a FINAL and APPEALABLE Judgment and there is no just

cause for delay.

      This the 21st day of October, 2020.
